Case 1:22-cv-00986-GTS-CFH Document 49-5 Filed 10/13/22 Page 1 of 4




                     RECORDS

          MASSACHUSETTS.
                          VOL.     I.




                      1628-1641.
Case 1:22-cv-00986-GTS-CFH Document 49-5 Filed 10/13/22 Page 2 of 4


                           RECORDS
                                         OF


             THE GOVERNOR AND COMPANY
                                       OF THE




MASSACHUSETTS BAY
                                         IN



                       NEW ENGLAND.
              PRINTED BY ORDER OF THE LEGISLATURE.

                                   EDITED BY
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                  ACADEMY OF ARTS AND SCIENCES, AND MEMBER OF THE
                            AMERICAN ANTIQUARIAN SOCIETY.




                                   YOL. I.
                               1628-1041.




                                  BOSTON:
          FROM THE PRESS OF WILLIAM "VYHITE,
                          PRINTER TO THE CO.M.MO.WVEALTH.

                                     1853.
Case 1:22-cv-00986-GTS-CFH Document 49-5 Filed 10/13/22 Page 3 of 4




                   THE iMASSACUUSETTi                          BAi'     IN     NEW ENGLAND.                                                '211



           And the said persons appointed to set out the said plantation arc directed                                        1    G 3 7.
                                                                                                                            "~"
   so to set out the same as there may bee 1500 acres of medowe alowed to it, if
                                                                                                                                      "^       ""


                                                                                                                           20 November,
   it   bee there to bee had -w"' any convcniency, for the vse of the towuc.l                                                              „

           Those that are to veiwe the newe plantation of Watei'towne are desired
   to veiwe the place ^v''^ M"' Si)encer desircth,                      & if it bee convenient, to rertify
   the Courte,/

           M'^     ^     Burslin,     Goo    :   Robert Martin, & S'^gent Anthony Eames ^^ere Comittee to
                                                                                                                           measure 3
   appointed to measure three miles southward from the southermost part                                         ot   the   ,„iigg south-
                                                                                                                                      "
   bay, & to run the east line vnto the sea./                                                                                     '




           Capt Turner, Goo           :     Rich''d Right, M""  & Goo Woodberry are
                                                                         Conant,           :




   appointed to certify w''''         bee the bounds between Salem & Saugust,  they                         ^y''^


   formerly did agree vpon./
           Saugust is called Liu./                                                                                         Lynn-

           It is ordered, that every man shall, w"'in three                        dayes, gi\e notice to the                               3.3a-
                                                                                                                                  "^
   cunstable of the towne of any strayes taken vp, & for every dayes neglect, to                                           .j""


   forfet three shillings four pence./

           '\A''hereas   the opinions        & revelations of JSP Wheeleright & M" llutchin-                                               354-
   son have seduced & led into dangerous errors many of the people heare in
                                                                                                                            ,"''"!'".'"^



   Newe England, insomuch as there is iust cause of suspitioH that they, as others ^'
   iu Germany, in former times, may, vpon some revelation, make some suddaine

   irruption vpon those that differ from them in iudgment, for ^ventiou whereof

   it is   ordered, that all those whose names are vnderwritten shall (vpon wanuug

   given or      left    at their    c^welling houses) before the 30"' day of this                         month of
   November, deliver in              at 'SV       Canes house, at Boston, all such                      giuis, pistols,

   swords, powder, shot, & match as they shalbce owners of, or ha.\e in their cu>-
   tody, \pon paine of ten pound for ev'y default to bee made therof ;                                     W^ armes
   are to bee kept        by M"' Cane            till   this       Court shall take further order therein.
   Also, it is ordered, vpon like penulty of x', that no man who                               is to       render his

   armes by this order              shall    buy or borrow any guns, swords, pistols, powdei-,
   shot, or match, vntill this              Court shall take further order therein./


                           *The Names of Boston Slen to bee disarmed.                                                         [*208.]

           Capt John ^"nderhill,                   John Sanfoard,                      John Biggs,
           ]\P Thomas Oliver,                      Rich'd Cooke,                       RicVd (iridley,
           William Hutchinson,                     Rich''d Fairbanke,                  Edward Bates,
           Willi: Aspinwall,                       Thorn       :   Marshall,           Willi    :       Dinely,
           Samuell Cole,                           Oliver Mellows,                     Willi    :       Litherland,
           Willi   :   Dyre,                       Samuell \\'ilbore,                  ]VIatheMe Jyans,

   ^       Edw'' Rumsfoard,                        John Oliver,                        Henry Elkins,
           John Button,                            Hugh Gunnison,                      Zache        :   Bnswoi th,
Case 1:22-cv-00986-GTS-CFH Document 49-5 Filed 10/13/22 Page 4 of 4



  212                                                      TllK     RKCOUUS OF                    TlIK           L'UIiONV                OF

        1G37,                 Rob''t like,                                 AVilli:          Wilson,                               John Compton,
                              AVilli     :       Townseud,                 Is;iack Giosse,                                        M'      ^         Parker,
   2    )   November.         Eob^t Hull,                                  liich'd Carder,                                        Willi    :       Freeborn,
                              Willi: Pell,                                 llob't Hardiuge,                                       Henry Bull,
                              Rich'"cl           Hutchinson,               Ilich'd Wayte,                                         John Walker,
                              James Johnson,                               John Porter,                                           Willi    :       Salter,

                              Thorn          :   Savage,                   Jacob Eliott,                                          Edwi Bendall,
                              John Davy,                                   James Pfenniman,                                       Thom Wheeler,:




                              Geoi'gc Burden,                              Thorn        :   Wardell,                              W      Clarke,
                              John Odlin,                                  Willi    :       Warden,                               'M''   John Coggeshall.
                              (jania     :       Waj'tc,                   Tliom        :   ilatson,
  oi)disarmed in              Edw'' Hutchinson,                            Willi    :       Banlston,                                                  58
  Boston.


                                    The like order is taken for other townes, changing the names of those
                 who shall deliver their armes, & keepe them./
  Rulem men dis-     The names of Salem men to bee disarmed                                                          :    JNI''     ^     Scrugs, ^P Alfoot,
  nrmd, 5.
                        ^1"'    Coiuins, Goo               :   Robert ^[oiilton. Goo              :       King   ;       to doliv'' their arms to Leif?

                        Damfort./

  Xewbe')' men                      The names of Neweberry men to bee disarmed are, ^P Duiucr, M"' Eason,
  disarmed, 3.
                        M'^ Spencer j to bee delivered to the cunstable of the to-\\Tie./

  Iloxbury men                      The names of Roxberry men to bee disarmed are, M'' Edward Denlson,
  dlsannd, 5.
                        Rlch''d          ilorris, Ilich''d          Bulgar, & Willi                   :   Denison, Philip Sherman                            ;   to   bee
                        delivered to Goo                   :   Johnson./

  Ipswich men                       The names of Ipswich men                                to   bee disarmed are, M"' Foster & Samu
  disarmd, 2.
                        Sherman, w"^'* aie to deliv'' their armes to M'' Bartholomcwe./
  Charls Towno,                     The names of Charlstowne men to bee disarmed arc, M'^ George Bunker
  2.
                        tV:   James Browne, who are to deliver their armes to Goo                                                    :   Thomas Line./
  2magis'*takiny:
  mens acknowl-                     It   was ordered, that if any that are                                to   bee disarmed acknowledg their
  e<li^''" of    y'"
                        siun in subscribing the seditions -libell, or do not iustify it, but acknowledg                                                                it
  t'uill     in sub-
  scribing.             I"!   ill   to two magistrates, they shalbee thereby freed from                                                  delivering in their
  35.5-
                        armes according to the former order./
  2 maG;ists powc
  to dismisse                       T^\o magistrates have power given them to excuse & exempt wholly from
  from tray.
                        trainings any w''' they shall tliinke meete./
  LeO How to
  trujue y* com-                    Any that are excused from trainings are to pay for the vse of the com-
  pany at Lynne,
  Xc."                  pany as two magistrates shall thinke meete./
  Itoxbury en-
                                    Lcifl Howe, being enioyned to traine the company" at Linn, is pmited to
  joynd to send
  M» Hutchin-           ha\c the fines, w"" all ould arrerages of fines behind there./
  bon.
                                    The tpwne of Roxberry is required to take order for the safe custody of
            [^09.]
  3.j«-                 yi'''       Hutchinson         ;       & if any charge arise, to bee defrayed by her husband./
  Orilc to p'vciit
                                    *This Courte, being sensible of the great disorders gro>\ ing in this coiiion
  contompts of
  ('niirt.              wi'lth through the ioiiteni])t'i                    \v'''   have of late bono put vpon the civil! author-
